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           EXHIBIT A
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                                                                          1420



 1                      UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
 2                             ATLANTA DIVISION

 3
 4 FAIR FIGHT ACTION, INC.; CARE     )
     IN ACTION, INC.; EBENEZER       )
 5   BAPTIST CHURCH OF ATLANTA,      )
     GEORGIA, INC.; BACONTON         )
 6   MISSIONARY BAPTIST CHURCH,INC.; )
     VIRGINIA-HIGHLAND CHURCH, INC.; )
 7   AND THE SIXTH EPISCOPAL         )
     DISTRICT,INC.,                  ) VOLUME VIII - A.M. SESSION
 8                   Plaintiffs,     )
                                     ) DOCKET NO. 1:18-cv-05391-SCJ
 9         -vs-                      )
                                     )
10   BRAD RAFFENSPERGER, IN HIS      )
     OFFICIAL CAPACITY AS SECRETARY )
11   OF STATE OF THE STATE OF        )
     GEORGIA; REBECCA N. SULLIVAN, )
12   SARAH TINDALL GHAZAL, MATTHEW )
     MASHBURN, AND ANH LE, IN THEIR )
13   OFFICIAL CAPACITIES AS MEMBERS )
     OF THE STATE ELECTION BOARD;    )
14   AND STATE ELECTION BOARD,       )
                                     )
15                   Defendants.     )
     _______________________________
16
                        TRANSCRIPT OF TRIAL PROCEEDINGS
17                    BEFORE THE HONORABLE STEVE C. JONES
                         UNITED STATES DISTRICT JUDGE
18                         WEDNESDAY, APRIL 20, 2022

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21
22                VIOLA S. ZBOROWSKI, CRR, CRC, CMR, FAPR
          OFFICIAL COURT REPORTER TO THE HONORABLE STEVE C. JONES
23                      UNITED STATES DISTRICT COURT
                              ATLANTA, GEORGIA
24                              404-215-1479
                     VIOLA_ZBOROWSKI@GAND.USCOURTS.GOV
25

             UNITED STATES DISTRICT COURT OFFICIAL CERTIFIED TRANSCRIPT
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 1 course, the legislation speak for themselves.
 2             THE COURT:    I guess the question I would like to hear

 3 the answer to that Ms. Bryan is asking is, two judges ordered --
 4 one in particular ordered that this be removed as a requirement,
 5 and then it's back into a passed bill signed by the Governor.             So

 6 on remedies -- I'm going to overrule the objection.           I want to

 7 hear the answer.
 8 DIRECT EXAMINATION BY MS. BRYAN (continued):
 9 Q.   It did go back in, did it not?

10 A.   What you just read is basically a place for the elector to

11 print his or her name, a signature line, a space for the elector
12 to print the number of his or her driver's license, a space to
13 affirm that he does not have a driver's license, a space to print
14 his or her date of birth, a space to provide the last four digits
15 of the Social Security number.         And then it continues to go on as

16 to kind of what should be on the absentee ballot --
17 Q.   Including the date of birth?

18 A.   -- envelope.

19             THE COURT:    Yes?   No?    Maybe?

20             THE WITNESS:     Date of birth is on -- is certainly on the

21 absentee ballot envelope, yes.
22             THE COURT:    I guess the question is that, why is it now

23 back on there?
24             THE WITNESS:     I don't think I can answer that.

25             THE COURT:    You didn't know about it?       They don't --

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     Case 1:18-cv-05391-SCJ Document 805-3 Filed 04/26/22 Page 4 of 10

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 1 they didn't consult you when they put this bill together, the
 2 Secretary of State?
 3             THE WITNESS:     I mean, we worked with the Legislature on

 4 this, correct.     That's correct.

 5             THE COURT:    So you knew nothing about this -- the

 6 putting this --
 7             THE WITNESS:     I'm not saying I knew nothing about it,

 8 but in terms of why they did it, you know, I can't -- I can't
 9 speak to that.
10             THE COURT:    But you knew they were going to do it;

11 right?
12             THE WITNESS:     I don't know what they're going to do.

13             THE COURT:    All right.    We're going to take a lunch

14 break.    Everybody have a good lunch.

15             (Whereupon, a lunch break was taken at 12:32 p.m.

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             UNITED STATES DISTRICT COURT OFFICIAL CERTIFIED TRANSCRIPT
     Case 1:18-cv-05391-SCJ Document 805-3 Filed 04/26/22 Page 5 of 10

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 1                            C E R T I F I C A T E

 2
 3 UNITED STATES DISTRICT COURT
 4 NORTHERN DISTRICT OF GEORGIA
 5
 6      I do hereby certify that the foregoing pages are a true and

 7 correct transcript of the proceedings taken down by me in the case
 8 aforesaid.
 9      This the 20th day of April, 2022.

10
11
12
13
14                         /s/Viola S. Zborowski _________________
                           VIOLA S. ZBOROWSKI, CRR, CRC, CMR, FAPR
15                         OFFICIAL COURT REPORTER

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             UNITED STATES DISTRICT COURT OFFICIAL CERTIFIED TRANSCRIPT
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1                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
2                               ATLANTA DIVISION

3

4

5     FAIR FIGHT ACTION, INC., et al,                     DOCKET NO.
                                                      1:18-cv-05391-SCJ
6                  PLAINTIFFS,
      v.                                         Wednesday, April 20, 2022
7                                                         Vol. 8
      BRAD RAFFENSPERGER, IN HIS
8     OFFICIAL CAPACITY AS SECRETARY                  AFTERNOON SESSION
      OF STATE OF GEORGIA and as
9     CHAIR OF THE STATE ELECTION
      BOARD OF GEORGIA, et al,
10
                  DEFENDANTS.
11

12

13

14
                    TRANSCRIPT OF BENCH TRIAL PROCEEDINGS
15                             AFTERNOON SESSION
                     BEFORE THE HONORABLE STEVE C. JONES
16                    UNITED STATES DISTRICT COURT JUDGE

17

18

19

20

21

22    COURT REPORTER:                     JUDITH M. WOLFF, CRR
                                          1914 U.S. COURTHOUSE
23                                        75 TED TURNER DRIVE, S.W.
                                          ATLANTA, GEORGIA 30303-3361
24                                        (404) 215-1317
                                          judith_wolff@gand.uscourts.gov
25

                   Official U.S. District Court Transcript
                          Wednesday, April 20, 2022
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1         (There was a lunch recess, and proceedings continued as

2     follows at 1:41 p.m.:)

3               THE COURT:     You all can be seated.

4               Ms. Bryan, I have a couple questions before we begin.

5               Mr. Germany, when we left off, Ms. Bryan had pointed

6     out there was an addition consent to SB 202 that somewhat

7     contradict a previous order this Court has entered.

8               You indicated that you were aware of the -- of this

9     addition in Senate Bill 202 that contradicts the Court's

10    order.

11              Now, let me preference that by saying I realize you

12    are not in the General Assembly, you can't control what they

13    do in the General Assembly.

14              But my first question is when were you aware of the

15    addition of Senate Bill 202?       Was it before or after they

16    passed it?

17              THE WITNESS:     It was well before they -- before they

18    passed 202?

19              THE COURT:     Yes.

20              THE WITNESS:     Before they passed it.

21              THE COURT:     At any point in time did the Secretary of

22    State's office or you directly specifically point this out to

23    the people in the General Assembly of what they were adding

24    was a contradiction?

25              THE WITNESS:     I can't recall.

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                           Wednesday, April 20, 2022
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1                THE COURT:    You don't recall the position at all?

2     You don't recall where y'all said, Hey, this contradicts the

3     judges, not just one judge, two judges -- well, Judge Mays'

4     order was just for Gwinnett County, so I can see where that

5     might be, but my order was statewide.

6                You don't remember whether you all said, Hey, this

7     contradicts something we had dealt with three years earlier?

8                THE WITNESS:    I mean, not sure that I agree with you

9     that it does.

10               THE COURT:    Okay.   Why does it not contradict it?

11    Tell me.

12               THE WITNESS:    SB202 changed the whole way of how

13    Georgia does absentee ballot verification.

14               Previously, in 2018, there was no cure period.

15    Judge May put in a judicial cure for signature mismatches.

16    And then later on, she enjoined Gwinnett from rejecting

17    subjects with a nonmatched year of birth.

18               And then your and her reasoning, the best I can

19    recall, was that then contradicts the materiality provision of

20    the act says you can't use something in verification that

21    essentially goes beyond what you need to verify the identity

22    of the voter.

23               And then you, Your Honor, extended that statewide.

24               There was no -- at that point, if there was a year of

25    birth nonmatch, there was no cure.        There was no opportunity

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                          Wednesday, April 20, 2022
     Case 1:18-cv-05391-SCJ Document 805-3 Filed 04/26/22 Page 9 of 10

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1     to cure it.

2                And then SB202 completely changed, and it said, I

3     mean, my understanding of what the legislature wanted to do

4     was go to these more objective things because signature match

5     got such a -- sort of a hard time from, frankly, from both

6     sides of the aisle.

7                We were sued on it by Democrats; we were sued on it

8     by Republicans.     And they all make the point that, Hey, these

9     county election officials aren't really in a position, they

10    are not signature matching experts.

11               THE COURT:    Let me ask you this.     I have had a chance

12    to reread my order, and you haven't had a chance to do that.

13    There is nowhere in the order that says anything about you

14    have to give time for a cure.

15               THE WITNESS:    I'm sorry?

16               THE COURT:    The order does not indicate that they

17    have to give a time to cure the matter.         The order signed by

18    me on 11/14/18.

19               Again, you haven't had a chance to look at it.

20               I understand your argument says, well, 202 says now

21    you have time to go back and correct and cure the matter, but

22    the order does not indicate that.        The order says it's not

23    required.

24               It's a side issue that the Court will look at

25    further.

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                           Wednesday, April 20, 2022
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2                            REPORTER'S    CERTIFICATE

3

4                I, Judith M. Wolff, Certified Realtime Reporter and

5     Official Court Reporter for the United States District Court

6     for the Northern District of Georgia, with offices at Atlanta,

7     do hereby certify:

8

9                That I reported on the Stenograph machine the

10    proceedings held in open court on the afternoon of Wednesday,

11    April 20, 2022, in the matter of Fair Fight Action, Inc., et

12    al., vs. Brad Raffensperger, in his official capacity as

13    Secretary of State of the State of Georgia and as Chair of the

14    State Election Board of Georgia, Case No. 1:18-cv-05391-SCJ;

15

16               That said proceedings in connection with the hearing

17    were reduced to typewritten form by me;

18

19               And that the foregoing transcript is a true and

20    accurate record of the proceedings.

21

22               This the 21st day of April, 2022.

23

24                                       _______________________________
                                     /s/ Judith M. Wolff, RPR, CRR
25                                       Official Court Reporter

                    Official U.S. District Court Transcript
                           Wednesday, April 20, 2022
